                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                                 )
                      Plaintiff,                           )
                                                           )
 vs.                                                       )        CASE NO. DNCW3:01CR72-8
                                                           )        (Financial Litigation Unit)
 CHRYSTAL GAYLE HOOTEN                                     )
                     Defendant,                            )
                                                           )
 and                                                       )
                                                           )
 ALCAN PACKAGING THERMAPLATE, INC.,                        )
                     Garnishee.                            )


               DISMISSAL OF ORDER OF CONTINUING GARNISHMENT

         Upon Motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Order of Continuing Garnishment filed in this case against Defendant

Chrystal Gayle Hooten is DISMISSED.

         SO ORDERED.

                                        Signed: January 19, 2017




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